     Case 1:15-cr-00207-DAD-BAM Document 54 Filed 05/09/17 Page 1 of 3
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 6   ATTORNEY FOR Defendant,
     JUAN ALBERTO GOMEZ
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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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                                                  ******
11   UNITED STATES OF AMERICA,                            Case No.: 1:15-CR-00207-AWI
12                  Plaintiff,
                                                          EX PARTE REQUEST FOR ORDER
13          v.                                            PERMITTING DEFENDANT TO
14   JUAN ALBERTO GOMEZ,                                  TRAVEL TO MEXICO FOR FUNERAL;
                                                          ORDER THEREON
15                  Defendant.
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17   TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
            ATTORNEY:
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            On July 30, 2015, defendant Juan Alberto Gomez made his initial appearance before
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     this Court on an indictment filed in the Eastern District of California charging him with
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     conspiracy to possess with intent to distribute and distribution of methamphetamine. Mr.
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     Gomez was released on his own recognizance and in the custody of a third party, Ms. Nicole
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     Navarro, under conditions set by this Court. One of the conditions of his release is that the
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     Defendant is on Home Detention with location monitoring and is restricted to his residence at
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     all times except for employment, education, religious services, medical, substance abuse, or
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     mental health treatment, attorney visits, court appearances, court-ordered obligations, or other
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     activities pre-approved by the Pre-trial Services Officer.
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            Mr. Gomez’s brother passed away on May 5, 2017, and Mr. Gomez’s sister, Gabby
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                                                         1
                           EX PARTE MOTION REQUESTING ORDER TO PERMIT TRAVEL TO MEXICO
                                           CASE NO.: 1:5-CR-00207-AWI
     Case 1:15-cr-00207-DAD-BAM Document 54 Filed 05/09/17 Page 2 of 3
 1   Gomez, girlfriend and custodian, Nicole Navarro and two of his children are scheduled to leave

 2   for Tijuana, Mexico on May 9, 2017, to attend his funeral. Mr. Gomez wishes to travel by car

 3   to Mexico with his custodian, sister and children for his brother’s funeral.

 4          Tijuana, Mexico is outside the travel restrictions under Mr. Gomez’s current conditions

 5   of release. United States Pretrial Services Officer Ryan Beckwith has advised defense counsel

 6   that he does not oppose this modification of Mr. Gomez’s release conditions to permit him to

 7   travel to and from Tijuana, Mexico. He notes that Mr. Gomez has performed very well on pre-

 8   trial release and that there are currently no supervision issues. Mr. Beckwith requests that Mr.

 9   Gomez first obtain permission from the Court and comply with any restrictions that Pretrial

10   Services may impose on such travel.

11          This office has contacted Assistant United States Attorney Kim Sanchez and has not

12   received any response.

13          Accordingly, the Defendant requests an Order permitting him to travel by car to and

14   from Tijuana, Mexico, on Tuesday, May 9, 2017, and returning on Friday, May 12, 2017, for

15   his brother’s funeral, with the advance permission of, and as directed by, Pretrial Services.

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18   DATED:      May 9, 2017              By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
19                                            Attorney for Defendant JUAN ALBERTO GOMEZ

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                           EX PARTE MOTION REQUESTING ORDER TO PERMIT TRAVEL TO MEXICO
                                           CASE NO.: 1:5-CR-00207-AWI
     Case 1:15-cr-00207-DAD-BAM Document 54 Filed 05/09/17 Page 3 of 3
 1                                                 ORDER

 2          Defendant, Juan Gomez’s conditions of pretrial release shall be modified as follows:

 3          1.     The Defendant shall be permitted to travel by car to and from Tijuana, Mexico,

 4   on Tuesday, May 9, 2017, and returning no later than 11:59 p.m. on Friday, May 12, 2017.

 5          2.     Defendant must check-in with Pretrial Services Officer Ryan Beckwith before

 6   leaving on Tuesday, May 9, 2017.

 7          3.     Defendant and custodian must provide Pretrial Services Officer Ryan Beckwith

 8   with telephone numbers and addresses of where they will be staying.

 9          4.     Defendant must check-in with Pretrial Services Officer Ryan Beckwith upon his

10   return from Mexico.

11          All other conditions shall remain in effect.

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     IT IS SO ORDERED.
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14      Dated:    May 9, 2017                                     /s/
                                                          UNITED STATES MAGISTRATE JUDGE
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                           EX PARTE MOTION REQUESTING ORDER TO PERMIT TRAVEL TO MEXICO
                                           CASE NO.: 1:5-CR-00207-AWI
